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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division
                                   www.flsb.uscourts.gov

In re:                                            Case No. 18-16659-BKC-LMI

YURI LYUBARSKY AND                                Chapter 7
OLGA LYUBARSKY,

      Debtor.
___________________________________/

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Notice of Hearing on Objection to

Claim of Vertonix Limited [ECF No. 72], was served on February 28, 2019 to all parties on the

list to receive e-mail notice/service for this case, via the Notice of Electronic Filing (which is

incorporated herein by reference) and via U.S. Mail on March 1, 2019 to Yuri Lyubarsky and

Olga Lyubarsky, 375 Poinciana Island Dr Unit 1135 North Miami Beach, FL 33160; Eric Rayz,

1051 County Line Rd., Suite A, Huntington Valley, PA 19006; and Synchrony Bank, PRA

Receivables Management, LLC, c/o Valerie Smith, PO Box 41021, Norfolk, VA 23541.

         Dated: March 1, 2019                       LEIDERMAN SHELOMITH ALEXANDER
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                                                    By:__________/s/_____________
                                                          FELIPE PLECHAC-DIAZ
                                                          Florida Bar No. 0105483
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